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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Criminal Case No. 01-cr-00214-WYD-07

UNITED STATES OF AMERICA,

                Plaintiff,

v.

7. ZEBEDEE HALL,

                Defendant.


          PETITION FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM


        COMES NOW the United States of America, by and through the United States Attorney

for the District of Colorado, and shows this Court that the above-named defendant, now being

confined in the USP LEAVENWORTH, U.S. PENITENTIARY 1300 METROPOLITAN

LEAVENWORTH, KS 66048, under the authority of the United States Government, is to appear

forthwith in District Court on October 30, 2008, at 2:30 p.m. in the above captioned case, and it

is necessary that he be present in person on said date, during said proceedings, appearances, and

final disposition of his case;

        NOW, THEREFORE, your petitioner respectfully moves that this Court order a Writ of

Habeas Corpus Ad Prosequendum to issue from this Court to the United States Marshal for the

District of Colorado, or any other United States Marshal, requiring him to serve said writ on the

Warden, or Superintendent, or Custodian of any place or institution where the said defendant is

confined, and requiring said United States Marshal to produce said defendant before the United

States District Court on October 30, 2008, for proceedings and appearances upon the matter
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aforesaid, and to hold him at all times in his custody as an agent of the United States of America

until final disposition of the defendant's case, thereafter to return the defendant to the institution

wherein now confined.

                                                Respectfully submitted,

                                                TROY A. EID
                                                United States Attorney



                                                By: s/Guy Till
                                                GUY TILL
                                                Assistant United States Attorney
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                                                Denver, CO 80202
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 3rd day of September, 2008, I electronically filed the
foregoing PETITION FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM with the
Clerk of Court using the CM/ECF system which will send notification of such filing to the
following e-mail addresses:

Anthony Viorst, Esq.
pat@hssspc.com, peggy@hssspc.com, tony@hssspc.com


and I hereby certify that I have mailed or served the document or paper to the following non-
CM/ECF participants in the manner indicated:

None


                                             s/ Debbie Azua-Dillehay
                                             DEBBIE AZUA-DILLEHAY
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